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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TENNESSEE
                           EASTERN DIVISION
______________________________________________________________________

                                   )
                                   )
                                   )
UNITED STATES OF AMERICA,          )
                                   )
                     Plaintiff,    )
                                   )       Case No. 1:20-cr-10063-STA
v.                                 )
                                   )
JASON WAYNE AUTRY,                 )
                                   )
                     Defendant.    )
                                   )
______________________________________________________________________

                      SENTENCING MEMORANDUM
                                 AND
  RESPONSE TO GOVERNMENT’S NOTICE OF INTENT TO SEEK AN UPWARD
                  DEPARTURE AND UPWARD VARIANCE
______________________________________________________________________

      Comes now Defendant Jason Autry, by and through his counsel, Kevin P.

Whitmore, hereby asserts in mitigation for this Honorable Court’s consideration that after

completing a 100-month sentence and after only 78 days of freedom, sending Mr. Autry

back to prison for 15 years for the commission of a non-violent offense is a sentence that

is greater than necessary. Mr. Autry accepted full responsibility for his actions and this

was initially demonstrated through his plea of guilty. The defense avers the following:




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I.      INTRODUCTION

        On September 23, 2013, Mr. Autry was sentenced to 100 months of incarceration

for being a felon in possession of a firearm. Docket Entry 36, Case No. 12-10070,

Judgment.       On September 16, 2020, Mr. Autry was released from federal custody.

Docket Entry 78, Paragraph (Para.) 54 of PSR.                      On December 3, 2020, after being

released from federal custody for only 78 days, Mr. Autry was arrested and detained for

being a felon in possession of a hunting rifle while hunting deer, a non-violent and

victimless offense. Para. 11 of PSR. In fact, there was no need for a new PSR because

the 2012 PSR would have been sufficient in light of Mr. Autry being out of federal custody

only 78 days.

        The government’s Motion for an Upward Departure and Upward Variance has

nothing to do with the nature and circumstances of the offense before this Honorable

Court. If so, the government would not be asking for an upward departure and upward

variance this case. Essentially, the government is asking this Honorable Court to base

an upward departure and upward variance on 78 days of Mr. Autry’s life because as a

convicted felon, he illegally used a rifle to go deer hunting.1

        Additionally, the government’s Motion has nothing to do with Mr. Autry’s extensive

criminal history under these facts because Mr. Autry’s armed career criminal status

sufficiently takes into consideration his extensive criminal history. If not for Mr. Autry’s

extensive criminal history, the Base Offense Level would have been 6 instead of 26



1 Judge Breen sentenced Mr. Autry to 100 months of incarceration for his previous offense. During the process,
Judge Breen considered Mr. Autry’s extensive criminal history.

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because the rifle was possessed for a sporting purpose (deer hunting), a legitimate

activity recognized by the United States Sentencing Commission as a mitigating

circumstance warranting a reduced Base Offense Level under USSG 2K2.1(b)(2).

      On the other hand, instead of facing 0-6 months (level 6) or 92-115 months (level

23) of imprisonment with acceptance of responsibility. Mr. Autry now faces a minimum

sentence of 180 months. Mr. Autry’s armed career criminal status increases the low end

of the guidelines range by more than 180 months (0-6 months) or 88 months (180-92

months).   There is no doubt sentencing Mr. Autry to 180 months is greater than

necessary for a non-violent offense and after Mr. Autry had served a 100-month prison

sentence with only 78 days of freedom.

      The additional information below is based on Mr. Autry’s Presentence Investigation

Report.

II.   MITIGATING FACTORS

      A.     Nature and Circumstances of the Offense:

      Mr. Autry, who had been released from federal custody for only 78 days, was

arrested, detained and later pleaded guilty to possessing a rifle to hunt deer in an open

field in Holladay, Tennessee. Paras. 8, 11, 12, 13, 14 and 54 of PSR. It is important to

note that Mr. Autry was hunting deer for food and not just game hunting. Para. 12, 13

and 14 of PSR.

      When the deputy observed Mr. Autry in the open field, Mr. Autry ultimately told the

deputy that he was deer hunting. Mr. Autry also admitted to purchasing ammunition from

a friend. Para. 12 of PSR. An investigation further revealed that Mr. Autry traded his


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girlfriend’s firearm for the hunting rifle. Id.

        The committed offense involves no violence and nor was anyone’s life placed at

risk.   This is not to minimize the law forbidding convicted felons from possessing a

firearm, but to point out there were no aggravating factors. The Victim Impact section of

the PSR specifically noted, “[T]here is no identifiable victim.” Para 18 of the PSR.

        On the other hand, the government’s Motion for an Upward Departure and Upward

Variance is seeking to create a citizen victim when there is not one. The Motion also

seeks to create aggravating factors when there are none in light of Mr. Autry’s 78 days

of freedom.     Certainly, the government’s request would be appropriate if Mr. Autry

possessed a firearm during the commission of a violent offense or serious drug offense,

however, this was not the case.

        The nature and circumstances of the offense could have been very serious and

even tragic to warrant a departure above a 180-month sentence, but it was not.

        B.     The History and Characteristics:

        The government’s assertion is correct that Mr. Autry has a very extensive criminal

history. The PSR calculates the adjusted offense level as 26 (total offense level 23 and

92-115 months of imprisonment with acceptance of responsibility). Para. 28 of PSR.

However, because Mr. Autry is an armed career criminal, his adjusted offense level is 33

(range 235-293) and Mr. Autry’s total offense level is 30 (range 168-210 with acceptance).

Para. 29 and 31 of PSR. Mr. Autry’s armed career criminal status sufficiently punishes

him for his extensive criminal history because his status increases the low end of the

guideline range by 88 months. Mr. Autry had 78 days of freedom before losing it to an


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even longer period of incarceration than he had recently served.

        Section 4B1.4(b)(3)(A) and 4B1.4(c)(2) of the Sentencing Guidelines also provided

increased exposure if Mr. Autry had possessed the firearm in connection with a crime of

violence or controlled drug offense. In the instant matter, there is no dispute that Mr.

Autry was using the rifle for deer hunting. Frankly, the government’s motion seeks to

make the underlining offense more serious than it is.

        Mr. Autry’s 78 days of freedom before the offense underscores the grave impact

that Mr. Autry’s childhood, substance abuse, and mental health issues have had on his

life.

        1.      Childhood and Family Circumstances

        The PSR reveals Mr. Autry’s dark past of being a victim of child physical and sex

abuse. Para. 71 of PSR. Mr. Autry was severely abused physically by his alcoholic father

and sexually abused by an aunt. Id. As a child, Mr. Autry also watched his father

severely physically abuse his mother. Id.

        The World Health Organization has similarly recognized that experiencing violence

in childhood impacts lifelong health and well-being and can result in: . . . negative coping

and health risk behaviors. Children exposed to violence and other adversities are

substantially more likely to smoke, misuse alcohol and drugs. . . They also have higher

rates of anxiety, depression, other mental health problems and suicide. . . (World Health

Organization,     Violence   Against     Children,    https://www.who.int/news-room/fact-

sheets/detail/violence-against-children).   As   documented      by   the   World    Health

Organization, Mr. Autry’s childhood physical and sexual abuse contributed to his mental


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health and substance abuse problems.

       2.     Mental and Emotional Health

       Mr. Autry’s current PSR documents that “according to his prior presentence report,

in approximately 1991, the defendant sought substance abuse treatment at Lakeside

Behavioral Health System in Memphis, Tennessee.” Para 82 of PSR. Additionally, in

2020, while on supervised release, Mr. Autry attended Carey Counseling Center for

mental health treatment. Mr. Autry’s mental health issues have been well documented.

       Mr. Autry has been diagnosed with Bipolar II, Depression, and Anxious Distress

diagnosis. Para 89 of PSR. Mr. Autry was prescribed a medication for Schizoaffective

Disorder after a recent evaluation in connection with his competency in this case. The

evaluator noted the defendant could also meet the criteria for “Post-Traumatic Stress

Disorder, and Attention-Deficit Hyperactivity Disorder.” Para 90 of PSR. The PSR states

Mr. Autry has attempted suicide on several occasions including “cutting his left wrist,

hanging himself, and overdosing on whiskey and methamphetamine.” Para 92 of PSR.

This information was corroborated by Mr. Autry’s BOP evaluation. Id. The PSR also

notes that Mr. Autry disclosed “he plans to commit suicide by overdosing on fentanyl

should he receive a sentence of 15 years to life in prison for the instant offense.” Id.

       3.     Substance Abuse

       Mr. Autry has also been diagnosed with Substance Abuse Disorders, including

Stimulant Use Disorder (Severe), Opioid Use Disorder (Severe), Cannabis Use Disorder

(Severe), and Alcohol Use Disorder (Severe). Para. 89 of PSR. Individuals with a

mental illness such as Mr. Autry are more likely to experience a substance use disorder


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than those not affected by a mental illness. (Substance Abuse and Mental Health

Services Administration, Co-Occurring and Other Health Conditions, viewed September

21, 2023 https://www.samhsa.gov/medications-substance-use disorders/medications-

counseling-related-conditions/co-occurring-disorders.). According to the 2020 National

Survey on Drug Use and Health (NSDUH):

       . . . 40.3 million Americans had a substance use disorder (SUD) in the past
      year. Substance use disorders continue to be an important health issue in
      our country. Substance Use Disorders (SUDs) are treatable, chronic
      diseases characterized by a problematic pattern of use of a substance or
      substances leading to impairments in health, social function, and control
      over substance use. It is a cluster of cognitive, behavioral, and physiological
      symptoms indicating that the individual continues using the substance
      despite harmful consequences. . . SUDs can range in severity from mild to
      severe.

      There is no question that much of Mr. Autry’s criminal history is in large part

attributable to his ongoing struggles with substance abuse, which began at the very young

age of 15. Some of Mr. Autry’s multiple failures under supervision can be directly tied to

his unrelenting disease of substance use disorder and inability to remain drug free.

Several of Mr. Autry’s prior offenses are what could be characterized as offenses that

were committed by an addict and motivated by an impulse to feed his addiction. Paras.

34, 36, 40, 41, 45, 46, 50, 52, 54 of PSR.

      While Mr. Autry falls into the category of having what is commonly referred to as a

dual diagnosis, involving both mental health and substance abuse issues, he has reached

a critical crossroad in his life by acknowledging he has a substance abuse disorder and

expressed a desire to fully engage in substance abuse treatment. Denial that one has a

problem is a common symptom of a substance abuse disorder. Mr. Autry has overcome


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this common barrier, which will greatly increase his ability to lead a life without drug

dependence and the associated criminal involvement.

       4.     Physical Health

       In addition to his mental and substance abuse conditions, Mr. Autry has a history

of serious health conditions, including multiple head traumas, Hepatitis C, high blood

pressure, and a vitreous hemorrhage in his left eye. Paras. 76, 77, 79 and 81 of PSR. In

addition, Mr. Autry “is currently in heart failure . . . Records from SCDC confirm this

condition.” Para 78 of PSR.

       C.     Promote respect for the law and provide just punishment:

       In light of Mr. Autry’s 78 days of freedom after his most recent incarceration period,

a 180-month sentence is greater than necessary. Instead of promoting respect for the

law, one could be led to view the law as being unfair and harsh. Even a multi-convicted

felon, who is sentenced to 15 years of imprisonment for possessing a hunting rifle while

hunting deer for food to eat, might garner the sympathy of many in the public.

       For example, as this Honorable Court knows, at one time the public cried out for

stiff penalties to address the ills of crack cocaine in some communities. However, once

the impact of the stiff penalties began to surface, public sentiments changed and

Congress and the Sentencing Commission changed the laws and Sentencing Guidelines

to reduce the stiff penalties.




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       D.      Deterrence of criminal conduct:

       Under these limited facts, a 15-year sentence is greater than necessary and

would be extremely harsh. A lesser sentence will deter others from further crimes.

       E.      Protection from further crimes of the defendant:

       Mr. Autry’s most recent crime, possession of a hunting rifle by a convicted felon, is

a victimless crime as stated in the PSR. Para 18 of the PSR. Aggravated Burglary is a

violent offense, but Mr. Autry’s convictions involved entering dwellings when there were

no individuals inside the dwellings at the time. An examination of Mr. Autry’s extensive

criminal history involves no robberies of individuals and businesses.

       A 15-year sentence places Mr. Autry over the age of 60 upon his release and his

age will certainly limit his ability to participate in further criminal activity.

       F.      The need for educational or vocational training, medical care:

       Mr. Autry seeks to take advantage of all educational and vocational training to

assist him in leading a productive life and becoming a righteous contributor to society.

III.   CONCLUSION

       WHEREFORE, Mr. Autry respectfully submits the foregoing for the Court’s

consideration, along with the other arguments presented in open Court, when determining

the appropriate sentence in this case.

                                              Respectfully submitted,

                                              /s/ Kevin P. Whitmore
                                              Kevin P. Whitmore #02129
                                              Attorney Representative of
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                              CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document has been served electronically to the

government’s representative/counsel via the Court’s ECF system this 7th day of June

2024.

                                          /s/Kevin P. Whitmore




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